
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 97-1269


                         LYNNE WOODS-LEBER AND ANTHONY LEBER,

                               Plaintiffs, Appellants,

                                          v.

                       HYATT HOTELS OF PUERTO RICO, INC., ETC.,

                                 Defendant, Appellee.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

               [Hon. Daniel R. Dominguez, United States District Judge]
                                          ____________________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Gibson,* Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                              _________________________

               Iv n D az-L pez and  Gerardo A. Quir s-L pez, with  whom Law
               _______________      _______________________             ___
          Offices  of Gerardo A.  Quir s-L pez, P.S.C., were  on brief, for
          ____________________________________________
          appellants.
               Hector F. Oliveras, with whom Luis Ram n Ortiz-Segura was on
               __________________            _______________________
          brief, for appellee.

                              _________________________


                                   August 26, 1997
                              _________________________

          _______________
          *Hon.  John  R.  Gibson,  of  the  Eighth   Circuit,  sitting  by
          designation.















                    SELYA, Circuit  Judge.   This appeal  arises out  of an
                    SELYA, Circuit  Judge.
                           ______________

          unwanted intrusion by a rabid mongoose into the  opulent environs

          of a posh  luxury hotel.   During its sojourn,  the animal bit  a

          guest.   The guest  sued, but  to no  avail;  the district  court

          entered  summary judgment  in the  hotelier's favor.   See Woods-
                                                                 ___ ______

          Leber v. Hyatt Hotels  of P.R., Inc.,  951 F. Supp. 1028  (D.P.R.
          _____    ___________________________

          1996).  We affirm.

          I.  THE MONGOOSE ATTACK AND ITS SEQUELAE
          I.  THE MONGOOSE ATTACK AND ITS SEQUELAE

                    Defendant-appellee Hyatt  Hotels of  Puerto Rico,  Inc.

          (Hyatt) owns and operates the Cerromar Beach Hotel (the hotel) in

          Dorado, Puerto Rico.  The hotel occupies a picturesque oceanfront

          setting.   Its  verdant grounds  are bordered  on  the west  by a

          mangrove   swamp   which   is  under   the   protection   of  the

          Commonwealth's Department  of Natural Resources.  On the far side

          of  the swamp  lies Lakeside  Villas,  a residential  subdivision

          which was being built at the time material hereto.  Hyatt  has no

          financial or other proprietary interest in the development of the

          subdivision.

                    On   April  10,  1995,   at  approximately  5:00  p.m.,

          plaintiff-appellant Lynne  Woods-Leber, a  guest, was  sunbathing

          near the  hotel's  pool.   Suddenly  (and  without  any  apparent

          provocation) a wild mongoose scurried  into the pool area and bit

          her.   Because the mongoose carried rabies, Woods-Leber underwent

          a series of painful inoculations.

                    A few  days  after  the  attack,  the  hotel  hired  an

          exterminator, Pest Management International (PMI), to implement a


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          mongoose  control program.    PMI set  several  baited traps  and

          captured fifteen mongooses in a week's time.1  PMI concluded that

          the   most  likely  explanation  for  the  infestation  was  that

          mongooses living in  the mangrove swamp had been disturbed by the

          construction  activity  at  Lakeside  Villas  and   had  migrated

          eastward onto the hotel's grounds.  The traps were left in  place

          on the premises.

                    In   due   season,    Woods-Leber   invoked   diversity

          jurisdiction,  28  U.S.C.    1332(a)  (1994), and  sued  Hyatt in

          Puerto Rico's federal  district court.2  Her  suit sought damages

          for   personal  injuries   under  local   law.     Hyatt   denied

          responsibility  and, following a  period of discovery,  moved for

          brevis  disposition, supporting  its  motion  with  a  number  of
          ______

          affidavits  and declarations.   The plaintiff opposed  the motion

          but made only one evidentiary proffer:   her husband's conclusory

          recitation of his suspicion that a temporary food preparation and

          storage area which had been installed near the pool functioned as




                              
          ____________________

               1The  plural of  "mongoose" is  a matter  of some  debate in
          lexicographic circles.  See, e.g., Webster's Ninth New Collegiate
                                  ___  ____  ______________________________
          Dictionary  767 (1989)  ("mongoose .  .  . n,  pl mongooses  also
          __________                                 _   __            ____
          mongeese . . . .").  Having noted the debate, however,  we choose
          not  to  enter  it.   Thus,  while we  use  the  term "mongooses"
          throughout,  we express  no  opinion  on  which  plural  noun  is
          linguistically preferable.

               2Woods-Leber's husband,  Anthony  Leber,  joined  as  a  co-
          plaintiff.   Inasmuch as  his claim is  derivative, we  treat the
          appeal  as if Woods-Leber were  the sole plaintiff and appellant.
          Of  course, our  decision disposes  of Anthony  Leber's claim  as
          well.

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          a mongoose magnet.3

                    On  December  30,  1996,  the  district  court  granted

          Hyatt's motion.   The court concluded,  in substance, that  Hyatt

          could not be  held strictly liable because it had not exerted any

          control over the mongoose,  and that it could not be  held liable

          in negligence because it could not  reasonably have been expected

          to foresee the mongoose attack.  See Woods-Leber, 951 F. Supp. at
                                           ___ ___________

          1039.  This appeal followed.

          II.  THE SUMMARY JUDGMENT STANDARD
          II.  THE SUMMARY JUDGMENT STANDARD

                    Summary judgment  is appropriate when the  record shows

          "no genuine issue as  to any material fact and  . . . the  moving

          party is  entitled to a  judgment as a  matter of law."   Fed. R.

          Civ. P 56(c); see also Anderson  v. Liberty Lobby, Inc., 477 U.S.
                        ___ ____ ________     ___________________

          242, 247  (1986).  The  genuineness requirement signifies  that a

          factual  controversy "must be sufficiently open-ended to permit a

          rational factfinder  to  resolve the  issue  in favor  of  either

          side."  National Amusements, Inc. v. Town of Dedham, 43 F.3d 731,
                  _________________________    ______________

          735 (1st Cir. 1995).  The materiality requirement signifies  that

          the factual  controversy must  pertain to  an issue  which "might

          affect  the outcome of the suit under the governing law."  Morris
                                                                     ______

          v. Government Dev. Bank, 27 F.3d 746, 748 (1st Cir. 1994).
             ____________________

                    Like the nisi prius court, we must evaluate the summary

          judgment record  in the light  most flattering to  the nonmovant,

          drawing all reasonable  inferences in  that party's  favor.   See
                                                                        ___

                              
          ____________________

               3The gist of Leber's statement  is reprinted in the district
          court's opinion.  See Woods-Leber, 951 F. Supp. at 1033.
                            ___ ___________

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          Coyne v.  Taber Partners  I, 53  F.3d 454, 457  (1st Cir.  1995).
          _____     _________________

          Despite  this  advantage,  however, the  party  opposing  summary

          judgment   cannot   simply  rest   on   "conclusory  allegations,

          improbable  inferences, and  unsupported  speculation."   Medina-
                                                                    _______

          Munoz  v. R.  J. Reynolds Tobacco  Co., 896  F.2d 5, 8  (1st Cir.
          _____     ____________________________

          1990).  To the contrary, at least with respect to issues on which

          she  bears  the burden  of  proof,  the  nonmovant must  identify

          properly  substantiated   facts   sufficient   to   establish   a

          trialworthy issue.  See  Morris, 27 F.3d at 748;  Kelly v. United
                              ___  ______                   _____    ______

          States, 924 F.2d 355, 358 (1st Cir. 1991).
          ______

                    Appellate review of an order  granting summary judgment

          is plenary.  See Coyne, 53 F.3d at 457; Morris, 27 F.3d at 748.
                       ___ _____                  ______

          III.  ANALYSIS
          III.  ANALYSIS

                    The  substantive  law   of  Puerto  Rico   governs  the

          liability question in  this diversity action.  See  Erie R.R. Co.
                                                         ___  _____________

          v. Tompkins, 304 U.S.  64, 78 (1938); Daigle v. Maine  Med. Ctr.,
             ________                           ______    _________________

          Inc. 14 F.3d 684, 689 (1st  Cir. 1994).  The plaintiff makes  two
          ____

          claims under that law.  We consider them sequentially.

                             A.  The Article 1805 Claim.
                             A.  The Article 1805 Claim.
                                 ______________________

                    Article 1805 of the Civil Code, P.R. Laws Ann. tit. 31,

            5144 (1992), imposes strict  liability on the possessor or user

          of  an animal  for  any damages  which  the animal  causes.   See
                                                                        ___

          Serrano v. Lopez, 79 P.R.R. 922, 927 (1957).  In order to prevail
          _______    _____

          on  an Article  1805  claim, a  plaintiff must  show,  at a  bare

          minimum,  that the defendant  owned, possessed, or  used the wild

          animal.    See Ferrer  v.  Rivera,  56  P.R.R. 480,  482  (1940);
                     ___ ______      ______


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          Redinger v. Crespo, 18 P.R.R.  106, 111 (1912).  This customarily
          ________    ______

          involves a showing that the defendant exercised control  over the

          animal.  See P.R. Laws Ann. tit. 31,   1480 (1993).
                   ___

                    The  district  court ordered  summary judgment  on this

          count,  holding that Woods-Leber  failed to present  any evidence

          tending to  show that Hyatt  controlled the rabid mongoose.   See
                                                                        ___

          Woods-Leber, 951 F.  Supp. at 1035.   We agree.  A  person cannot
          ___________

          control an animal of which  he is completely unaware.  Here,  the

          uncontradicted  evidence indicates that  Hyatt had no  inkling of

          the mongoose's existence, had no reason to suspect that mongooses

          were lurking nearby, and received as jolting a surprise as Woods-

          Leber when  the mongoose  struck.   In the utter  absence of  any

          evidence  of  either  knowledge or  control,  the  district court

          properly entered summary judgment on the Article 1805 claim.

                    The  plaintiff  endeavors  to  avoid  this  predictable

          result by arguing  that a symbiotic relationship  existed between

          Hyatt and  the mongoose  population in the  mangrove swamp.   She

          pins this  rather exotic theory  to a suggestion that  Hyatt must

          have   benefitted  from  the   mongooses'  natural  affinity  for

          devouring snakes  and rodents, and  that this benefit  is legally

          tantamount to control.  This  argument is woven entirely from the

          gossamer strands  of  speculation and  surmise.   The  record  is

          devoid of any evidence that mongooses patrolled the perimeters of

          the hotel's  grounds, performing  pest control  functions.   And,

          moreover,  the  argument  is  unaccompanied   by  any  meaningful




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          citation to applicable  legal authority.4  In  sum, this argument

          is   factually   barren,   legally   bankrupt,   and   altogether

          insufficient  to breathe life  into the plaintiff's  Article 1805

          claim.

                             B.  The Article 1802 Claim.
                             B.  The Article 1802 Claim.
                                 ______________________

                    Article 1802 of the Civil Code, P.R. Laws Ann. tit. 31,

            5141, imposes liability  on any person or entity which, by his,

          her, or its  negligent acts or omissions, causes  harm or damage.

          In broad  perspective, Puerto Rico law defines  negligence as the

          failure to  exercise due  diligence to  avoid foreseeable  risks.

          See  Coyne, 53 F.3d at 459;  Malave-Felix v. Volvo Car Corp., 946
          ___  _____                   ____________    _______________

          F.2d 967,  971-72 (1st Cir. 1991).5   To recover  on a negligence

          theory, a  plaintiff suing  for personal  injuries under  Article

          1802 must establish (1) a duty requiring the defendant to conform

          to a certain standard of conduct, (2)  a breach of that duty, (3)

          proof of damage,  and (4) a causal connection  between the damage

          and  the  tortious  conduct.   See  Sociedad  de  Gananciales  v.
                                         ___  _________________________

          Gonzalez Padin,  17 P.R.  Offic. Trans. 111,  125 (1986).   These
          ______________

          requirements cannot  be  satisfied unless  the plaintiff  proves,

          inter  alia, that  the injury  was  reasonably foreseeable  (and,

          thus, could  have been avoided  had the defendant acted  with due
                              
          ____________________

               4The lower court perspicaciously observed that this argument
          was  "not  merely  novel,  but .  .  .  perilously  close to  the
          frivolous."  Woods-Leber, 951 F. Supp. at 1035 n.5.
                       ___________

               5In a  premises case a  showing of  negligence under  Puerto
          Rico  law ordinarily requires  a demonstration of  the owner's or
          occupier's actual or constructive  knowledge of the  harm-causing
          condition.  See Mas v. United States, 984 F.2d 527, 530 (1st Cir.
                      ___ ___    _____________
          1993).

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          care).  See Coyne, 53 F.3d at 459-60.
                  ___ _____

                    The plaintiff contends  that, under Puerto Rico  law, a

          hotel-keeper owes  its  guests  a heightened  duty  of  care  and

          protection.   The law so  provides.  See, e.g.,  Mejias-Quiros v.
                                               ___  ____   _____________

          Maxxam Property Corp., 108 F.3d  425, 427 (1st Cir. 1997); Coyne,
          _____________________                                      _____

          53  F.3d at  458;  Pabon-Escabi  v. Axtmayer,  90  P.R.R. 20,  29
                             ____________     ________

          (1964).   Nevertheless, a hotel-keeper  is not an insurer  of its

          guests' well-being.  See, e.g., Goose v. Hilton Hotels, 79 P.R.R.
                               ___  ____  _____    _____________

          494,  499 (1956) (holding that a hotelier is liable for a guest's

          fall on hotel  premises only if the hotelier knew  or should have

          known  of  a  preexisting  dangerous condition).    Consequently,

          notwithstanding the heightened  duty of care and  protection, the

          hotel-keeper is not liable for harm unless the harm is reasonably

          foreseeable.  See Coyne, 53 F.3d at 460-61.
                        ___ _____

                    In this case, the  linchpin question is whether  it was

          reasonably foreseeable at  the time and place in  question that a

          mongoose would attack  a guest (for, without  a foreseeable harm,

          Hyatt could  not have  breached its  duty of  care by failing  to

          implement a mongoose control program before the attack).  See id.
                                                                    ___ ___

          at  460.   The  district  court  answered  this question  in  the

          negative.  See Woods-Leber, 951 F. Supp.  at 1039.  We think that
                     ___ ___________

          Judge Dominguez got it right.

                    The  evidence as  to  knowledge is  telling.   On  this

          point, the record permits only one conclusion:  that Hyatt had no

          knowledge,  actual  or  constructive,  either of  the  mongooses'

          existence or of the incipient  danger that they presented, at any


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          time  before  the attack.    The  hotel personnel  most  directly

          involved in the  matter (such as the head grounds  keeper and the

          chief  of security) submitted affidavits  which made plain that a

          mongoose had never  before been seen on the  hotel premises; that

          no  one at  the hotel knew  of the  presence of mongooses  in the

          mangrove swamp or  otherwise in the vicinity; and  that, prior to

          the  assault on Woods-Leber, no wild animal  of any kind had ever

          bitten any hotel guest.  By the same token, there was no evidence

          from which a factfinder could conclude, without rank speculation,

          that  the temporary food  preparation and storage  area presented

          any hazard or that Hyatt should have known the  inauguration of a

          construction  project near the mangrove swamp portended an influx

          of  wild animals.  Indeed, several previous construction projects

          had been  undertaken near the  swamp without incident.   Finally,

          there  was  no   evidence  either  that  a   non-rabid  mongoose,

          unprovoked, was likely to bite a supine sunbather, or that rabies

          was prevalent in the area.

                    We do  not mean to  imply that, merely because  a rabid

          mongoose  had never  before  invaded the  premises  and bitten  a

          guest, the  attack could not  have been foreseen.   See generally
                                                              ___ _________

          Pabon-Escabi, 90 P.R.R.  at 25 (explaining that  "the requirement
          ____________

          of  foreseeability [does not  require] that  the precise  risk or

          consequences  have been  foreseen").   If,  say,  an occupier  of

          premises disregards a known general danger, or omits a precaution

          regularly  taken by prudent  persons similarly situated,  a first

          attack might  well be foreseeable  (and, thus, actionable).   See
                                                                        ___


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          Coyne, 53  F.3d at 460; see also State  v. Francis, 635 A.2d 762,
          _____                   ___ ____ _____     _______

          769 n.11  (Conn. 1993) (holding  that liability does  not require

          specific foreseeability); Stevens v.  Des Moines Indep. Community
                                    _______     ___________________________

          Sch. Dist., 528  N.W.2d 117, 120 (Iowa 1995)  (same); Pimentel v.
          __________                                            ________

          Roundup Co., 666  P.2d 888, 891 (Wash.  1983) (same).  But  here,
          ___________

          the  plaintiff  offered  no  evidence  to support  a  finding  of

          foreseeability, electing  instead  to  rely  on  the  defendant's

          affidavits and declarations.6   We have warned  before, and today

          reiterate, that parties  who permit the  movant to configure  the

          summary judgment  record do so  at their  peril.  See  Kelly, 924
                                                            ___  _____

          F.2d at 358.

                    We need go no further.  As the district court correctly

          stated, "[t]he normal rule is that a person does not have  a duty

          to prevent an attack upon another . . . by wild animals."  Woods-
                                                                     ______

          Leber, 951 F.  Supp. at 1036 (citations omitted).  While the rule
          _____

          admits of  exceptions,  the plaintiff  in  this case  adduced  no

          evidence which sufficed  to bring the mongoose  attack within any

          of those exceptions.  Since  a hotel-keeper, like any other owner

          or occupier of premises, cannot be held liable  for that which it

          cannot  reasonably  foresee,  the  lower  court  did  not err  in

          granting Hyatt's motion for summary judgment.
                              
          ____________________

               6This  presents  a marked  contrast  to the  cases  on which
          Woods-Leber  relies.  See,  e.g., Tormos-Arroyo v.  Department of
                                ___   ____  _____________     _____________
          Ed.,  96  J.T.S.   34,  806  n.2  (1996)   (plaintiffs  submitted
          ___
          deposition  testimony  suggesting  foreseeability);  J.A.D.M.  v.
                                                               ________
          Plaza  Carolina  Shopping  Ctr.,  93  J.T.S.  26,  10,435  (1993)
          _______________________________
          (plaintiff submitted statistical  evidence showing past incidence
          of crimes in the area); Elba v. University of P.R., 125 P.R. Dec.
                                  ____    __________________
          294,  306  (1990)  (plaintiff  submitted  cartographic   evidence
          indicating known high-risk areas).

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                    Affirmed.
                    Affirmed.
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